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UNITED STATES BAKNRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

MIROSLAW GORTAT, HENRYK BIENKOWSKI,
MIROSLAW FILIPKOWSKI, ARTUR LAPINSKI,
JAN SWALTEK, ARTUR KOSIOREK, and HENRYK
STOKLOSA, on behalf of themselves and on behalf of
all others similarly situated, ROBERT WISNIEWSKI,
ROBERT WISNIEWSKI P.C.
Plaintiffs, Adv. Proc. No. 15-01159
-against-

ROBERT CAPALA
Defendant.

STIPULATED ORDER OF DISMISSAL

IT IS HEREBY STIPULATED AND AGREED by and between undersigned parties or
counsel that whereas no party to this stipulation is an infant, incompetent person for whom a
committee has been appointed or conservatee and no person not a party has an interest in the
subject matter of the action, that the above action be, and the same hereby is discontinued as
between the undersigned parties, with prejudice, without costs to any party against any other.

IT IS FURTHER STIPULATED AND AGREED that this stipulation can be executed in
counterparts and that a facsimile signature shall be deemed as an original.

Dated: New York, NY
March 21, 2022

ROBERT WISNIEWSKI P.C. LAW OFFICES OF GABRIEL DEL VIRGINIA
/s/Robert Wisniewski /s/ Gabriel Del Virginia
Robert Wisniewski Gabriel Del Virginia
Counsel for All Plaintiffs Counsel for Robert Capala
17 State Street, Suite 820 30 Wall Street, 12" Floor
New York, NY 10004 New York, NY 10005
tel. (212) 267-2101 tel. (212) 371-5478
SO ORDERED,

United States Bankruptcy Judge
